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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8                                             )    No. CV-17-02548-PHX-SPL
     Michael Magee,
 9                                             )
                                               )
                     Plaintiff,                )    ORDER
10                                             )
     vs.
11                                             )
                                               )
     National Credit Systems, Inc., et al.,    )
12                                             )
13                   Defendants.               )
                                               )
14                                             )

15          No stipulation to dismiss having been filed, in accordance with the Court’s
16   October 5, 2017 Order (Doc. 22),
17          IT IS ORDERED that Defendant National Credit Systems, Inc. is dismissed with
18   prejudice.
19          IT IS FURTHER ORDERED that the Clerk of Court shall terminate Defendant
20   National Credit Systems, Inc. as a party in this action.
21          Dated this 27th day of November, 2017.
22
23                                                      Honorable Steven P. Logan
                                                        United States District Judge
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